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 1   AKERMAN LLP
     SARAH KROLL-ROSENBAUM (SBN 272358)
 2   sarah.kroll-rosenbaum@akerman.com
     ANTHONY D. SBARDELLATI (SBN 246431)
 3   anthony.sbardellati@akerman.com
     NANCY SOTOMAYOR (SBN 312022)
 4   nancy.sotomayor@akerman.com
     JADE T. WHITE (SBN 335651)
 5   jade.white@akerman.com
     633 West Fifth Street, Suite 6400
 6   Los Angeles, California 90071
     Telephone: (213) 688-9500
 7   Facsimile: (213) 627-6342

 8   Attorneys for Defendants
     AMN HEALTHCARE SERVICES, INC.,
 9   KAISER FOUNDATION HEALTH PLAN, and
     KAISER FOUNDATION HOSPITALS
10
     Additional Counsel Listed on Signature Page
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12
                                    UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
                                         OAKLAND DIVISION
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16    JEAN PAPPAS, JOHANNAH                          Case No. 4:24-cv-01426-JST
      HETHERINGTON, NIKOLE DOMKE,
17    MICHELLE ANDERSON, and JANE                    Assigned to the Honorable Jon S. Tigar
      ANGELL, individually and on behalf of all
18    others similarly situated.                     JOINT STIPULATED REQUEST TO
                                                     CONTINUE THE DECEMBER 17, 2024
19                  Plaintiffs,                      INITIAL CASE MANAGEMENT
                                                     CONFERENCE AND EXTEND RELATED
20    v.                                             DEADLINES (DKT. NO. 42)
21    AMN HEALTHCARE SERVICES, INC.,                 [Civil Local Rule 6-2]
      KAISER FOUNDATION HEALTH PLAN,
22    INC., AND KAISER FOUNDATION
      HOSPITALS,
23
                    Defendants.
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                                               1                  CASE NO. 4:24-cv-01426-JST
           STIPULATED REQUEST TO CONTINUE INITIAL CMC AND EXTEND RELATED DEADLINES
         Case 4:24-cv-01426-JST           Document 43        Filed 11/20/24      Page 2 of 3




 1   TO THE HONORABLE JON S. TIGAR:

 2          On May 10, 2024, Defendants AMN Healthcare Services, Inc., Kaiser Foundation Health Plan,

 3   Inc., and Kaiser Foundation Hospitals (collectively, “Defendants”) filed a Motion to Compel

 4   Arbitration and Dismiss the Action, which noticed a hearing date of July 18 (Dkt. No. 21) (the

 5   “MTCA”). The MTCA was fully briefed on July 5, 2024.

 6          On June 6, 2024, the Parties filed a joint stipulated request to continue the initial Case

 7   Management Conference (“CMC”) then set for July 2, 2024, until August 20, 2024, as well as extend

 8   related case management deadlines, so that the CMC would occur after the hearing on Defendants’

 9   MTCA, then set for July 18. The Court granted this request. (Dkt. Nos. 33, 34.) On July 8, 2024, the

10   Court vacated the hearing on the MTCA and took the matter under submission. (Dkt. No. 37.) The

11   Court has granted a second request of the Parties to continue the initial CMC to October 22, 2024

12   (Dkt. Nos. 38, 39), as well as a third request to continue the initial CMC to December 17, 2024 (Dkt.

13   Nos. 41, 42).

14          Pursuant to L.R. 6-2, on November 20, 2024, counsel for Defendants asked counsel for

15   Plaintiffs Jean Pappas, Johannah Hetherington, Nikole Domke, Michelle Anderson, and Jane Angell

16   (collectively, “Plaintiffs”) if they would stipulate to continue the December 17, 2024 CMC for

17   approximately 60 days, as well as extend the Parties’ related deadlines to file their ADR Certifications

18   and Joint Case Management Statement accordingly. Plaintiffs agreed to Defendants’ proposed

19   stipulation. This continuance and related extensions are necessary to permit the Parties to consider the

20   effect of the Court’s ruling on the MTCA on the instant action, which has the potential to obviate the

21   need for the initial CMC and related deadlines.

22          The requested continuance and extensions will preserve the Court’s resources and facilitate

23   efficient case management in the instant action by enabling the Parties to incorporate the Court’s ruling

24   on the MTCA into their case management plan and related scheduling. The Parties therefore

25   respectfully request that the Court grant the Parties’ stipulation as follows:

26              1. The initial CMC, currently set for December 17, 2024, shall be continued until

27   February 17, 2025, or as soon thereafter as the Court’s calendar permits.

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 1             2. The Parties’ deadline to file ADR Certifications shall be 14 calendar days before the

 2   continued CMC.

 3             3. The Parties’ deadline to file their Joint Case Management Conference Statement shall

 4   be seven calendar days before the continued CMC.

 5          Respectfully submitted by the Parties on this 20th day of November, 2024:

 6

 7    DATED: November 20, 2024                  AKERMAN LLP

 8
                                                By: /s/ Anthony D. Sbardellati
 9                                                      Sarah Kroll-Rosenbaum
                                                        Anthony D. Sbardellati
10                                                      Nancy Sotomayor
11                                                      Jade T. White
                                                        Attorneys for Defendants
12                                                      AMN HEALTHCARE SERVICES, INC.,
                                                        KAISER FOUNDATION HEALTH PLAN, INC.,
13                                                      AND KAISER FOUNDATION HOSPITALS
14

15
      DATED: November 20, 2024                  STUEVE SIEGEL HANSON LLP
16
                                                By: /s/ Larkin Walsh
17                                                      Larkin Walsh (admitted PHV)
                                                        Brandi Spates (PHV application forthcoming)
18                                                      Ross Merrill (PHV application forthcoming)
                                                        460 Nichols Road, Suite 200
19                                                      Kansas City, Missouri 64112
                                                        Telephone: (816) 714-7100
20
                                                        Facsimile: (816) 714-7101
21                                                      walsh@stuevesiegel.com
                                                        spates@stuevesiegel.com
22                                                      merrill@stuevesiegel.com
23                                              HARTLEY LLP
24                                                      Jason S. Hartley
25                                                      101 W. Broadway, Suite 820
                                                        San Diego, California 92101
26                                                      Telephone: (619) 400-5822
                                                        hartley@hartleyllp.com
27
                                                        Attorneys for Plaintiffs and the Putative Class
28

                                             3                  CASE NO. 4:24-cv-01426-JST
         STIPULATED REQUEST TO CONTINUE INITIAL CMC AND EXTEND RELATED DEADLINES
